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UNITED STATES DISTRICT COURT
FOR 'I`HE
DISTRICT OF MASSACHUSE’].`TS

MARICIA O’CONNOR,

Plaintiff,
v. Civil Action No.
CAR AND ASSOCIATES, COMPLAINT AN]) DEMAND FOR
JURY TRIAL
Defendant.

(Unlawful Debt Collection Practices)

 

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MARICIA o’CoNNoR (“Piaimirr’), by her 1attorneys, KIMMEL a

SILVERMAN, P.C., alleges the following against CAR AND ASSOCIATES,
(“Defendant”):

INTRODUCTION
l. Plaintift" s Cornplaint is based on the Fair Debt Collection Practices

Acr, 15 U.s.C. § 1692 erseq. (“FDCPA”).

JURISDICTION AND VENUE
2. Jurisdiction of this court arises pursuant to 15 U.S.C. § l692k(d),

Which states that such actions may be brought and heard before “any appropriate
United States district court Without regard to the amount in controversy,” and 28
U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising

under the laws of the United States.
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PLAINTIFF’S COMPLAINT

 

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3. Defendant conducts business in the state of Massachusetts and
therefore, personal jurisdiction is established

4. Venue is proper pursuant to 28 U.S.C. § l391(b)(l).

5. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

2202.

PARTIES

6. Plaintiff is a natural person residing in Pitchburg, Massachusetts.

7. Plaintiff is a “consurner” as that term is defined by 15 U.S.C. §
1692a(3).

8. Defendant is a debt collection company doing business in
Massachusetts and having its principal place of business at 5165 Broadway Suite
253, in Depew, New Yorl<;, 14043.

9. Defendant is a debt collector as that term is defined by 15 U.S.C. §
1692a(6), and sought to collect a consumer debt from Plaintiff.

10. Defendant acted through its agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

_ representatives, and insurers.

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PRELIMINARY STATEMENT

11. The F air Debt Collection Practices Act (“FDCPA”) is a
comprehensive statute that prohibits a catalog of activities in connection With the
collection of debts by third parties. _S_e_e 15 U.S.C. § 1692 et seq. The FDCPA
imposes civil liability on any person or entity that violates its provisions, and
establishes general standards of debt collector conduct, defines abuse, and
provides for specific consumer rights. 15 U.S.C. § 1692k. The operative
provisions of the FDCPA declare certain rights to be provided to or claimed by
debtors, forbid deceitful and misleading practices, prohibit harassing and abusive
tactics, and proscribe unfair or unconscionable conduct, both generally and in a
specific list of disapproved practices

12. In particular, the FDCPA broadly enumerates several practices
considered contrary to its stated purpose, and forbids debt collectors from taking
such action The substantive heart of the FDCPA lies in three broad prohibitions
First, a “debt collector may not engage in any conduct the natural consequence of
Which is to harass, oppress, or abuse any person in connection With the collection
of a debt.” 15 U.S.C. § l692d. Second, a “debt collector may not use any false,
deceptive, or misleading representation or means in connection vvith the collection
of any debt.” 15 U.S.C. § l692e. And third, a “debt collector may not use unfair
or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. §

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PLAINTIFF ’S COMPLAINT

 

 

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1692f. Ffhc FDCPA is designed to protect consumers from unscrupulous
collectors, whether or not there exists a valid debt, broadly prohibits unfair or
unconscionable collection methods, conduct which harasses, oppresses or abuses
any debtor, and any false, deceptive or misleading statements in connection with
the collection of a debt.

13. In enacting the FDCPA, the United States Congress found that
“[t]here is abundant evidence of the use of abusive, deceptive, and unfair debt
collection practices by many debt collectors,” which “contribute to the number of
personal banl<:ruptcies, to marital instability, to the loss ofjobs, and to invasions of
individual privacy.” 15 U.S.C. § l692a. Congress additionally found existing
laws and procedures for redressing debt collection injuries to be inadequate to
protect consumers 15 U.S.C. § l692b.

14. Congress enacted the FDCPA to regulate the collection of consumer
debts by debt coilectors. rfhc express purposes of the FDCPA are to “eliminate
abusive debt collection practices by debt collectors, to" insure that debt collectors
who refrain from using abusive debt collection practices are not competitively
disadvantaged, and to promote consistent State action to protect consumers against

debt collection abuses.” 15 U.S.C. § 1692e.

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FACTUAL ALLEGATIONS

15. At all pertinent times hereto, Defendant was allegedly hired to collect
a debt relating to a payday loan.
16. The alleged debt at issue arose out of transactions that were primarily
for personal, family or household, purposes
17. On or about June 30, 2009, Defendant began constantly and
continuously placed harassing and abusive collection calls to Plaintiff seeking and
demanding payment for an alleged consumer debt.
18. Defendant communicated, by telephone, with Plaintiff with such
frequency as to be unreasonable and to constitute harassment to Plaintiff under the
circumstances
19. Specifically, Defendant contacted Plaintiff telephonically on average
three (3) times a day between June 30, 2009, and July 22, 2009.
20. Several times when Defendant contacted Plaintiff, Defendant’s
representative told Plaintiff that it was calling from an attorney’s oftice.
21. Defendant threatened Plaintiff that she would commit a serious
offense if she did not pay the alleged debt and told her that nonpayment of the

alleged debt was a criminal offense.

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PLAINTIFF’S COMPLAINT

 

 

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- misleading and made Plaintiff feel wary about answering the telephone

 

 

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22. Plaintiff disputed the debt and questioned Defendant regarding the
amount of the alleged debt; however, Defendant would not explain to Plaintiff how
it calculated the amount of the alleged debt.

23. Defendant told Plaintiff that it would take her to court if she did not
pay the alleged debt. l

24. Defendant threatened Plaintiff that it would put the alleged debt on
her credit report; however, when Plaintiff viewed her credit report, the debt did not
appear on it.

25. Defendant’s calls to Plaintiff were disturbing, harassing, and

CONSTRUCTION OF APPLICABLE LAW
26. The FDCPA is a strict liability statute. Tavlor v. Perrin, Landrv,
deLaunay & Durand, 103 F.3d 1232 (5th Cir. 1997). “Because the Act imposes
strict liability, a consumer need not show intentional conduct by the debt collector
to be entitled to damages.” Russell v. Equifax A.R.S., 74 F. 3d 30 (2d Cir. 1996);
see also Gearing v. Checl< Brol<erage Corn., 233 F.?>d 469 (7th Cir. 2000) (holding
unintentional misrepresentation of debt collector’s legal status violated FDCPA);

Clomon v. Jackson, 988 F. 2d 1314-(2d Cir. 1993).

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PLAINTIFF’S COMPLAINT

 

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27. The FDCPA is a remedial statute, and therefore must be construed

liberally in favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235

 

(W.D. Wash. 2006). The remedial nature of the FDCPA requires that courts
interpret it liberally. Clarl< v. Capital Credit & Collection Services, Inc., 460 F. 3d
1162 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending Act (TILA)
15 U.S.C §1601 et Seq., is a remedial statute, it Should be construed liberally in
favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1107 (lOth Cir. 2002).

28. The FDCPA is to be interpreted in accordance with the “least
sophisticated” consumer standard See leter v. Credit Bureau, lnc., 760 F.2d 1168
(l lth Cir. 1985); Graziano v. Harrison, 950 F. 2d 107 (3>rd Cir. 1991); Swanson v.
Southern Oregon Credit Service, lnc., 869 F.2d 1222 (9th Cir. 1988). The FDCPA
was not “made for the protection of experts, but for the public - that vast multitude
which includes the ignorant, the unthinking, and the credulous, and the fact that a
false statement may be obviously false to those who are trained and experienced
does not change its character, nor take away its power to deceive others less
experienced.” ii T he least sophisticated consumer standard serves a dual
purpose in that it ensures protection of all consumers even naive and trusting,
against deceptive collection practices, and protects collectors against liability for

bizarre or idiosyncratic interpretations of collection notices Clomon 988 F. 2d at

 

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PLAINTIFF’S COMPLAINT

 

 

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DEFENDANT VIOLATED THE §§HINDTE¥,BT COLLECTION PRACTICES
ACT
29. In its actions to collect a disputed debt, Defendant violated the
FDCPA in one or more of the following ways:
i. Engaging in conduct the natural consequence of which was
to harass, oppress, or abuse Plaintiff with the collection of a
debt, specifically repeatedly contacting Plaintiff on her
telephone, in violation of 15 U.S.C. § 1692d;
ii. Causing a telephone to ring and engaging Plaintiff in
telephone conversations repeatedly and continuously with _
the intent to annoy, abuse, and harass her, in violation of 15
U.S.C. § 1692d(5);
iii. Using false, deceptive or misleading representations or
means in connection with the collection of any debt, in
violation‘@r 15 U.s'.c. §§ iesze and 1692@>(10);
iv. Falsely representing or implicating that Plaintiff committed
any crime or other conduct in order to disgrace Plaintiff,

specifically telling Plaintiff that nonpayment of a debt is a

criminal offense, in violation of 15 U.S.C. § l692e(7);

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PLAINTIFF’S COMPLAINT

 

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WHEREFORE, Plaintiff, MARlCIA O’CONNOR, respectfully prays for a
judgment as follows: §
a. Ail actual compensatory damages suffered pursuant to 15
U.S.C. § l692k(a)(1);
b. Statutory damages of $1,000.00 for each violation of the
FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);
c. All reasonable attorneys’ fees, witness fees, court costs and
other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
§ 1693k(a)(3); and

d. Any other relief deemed appropriate by this Honorable Court.

Threatening to communicate to any person credit
information which is known or should be known to be false,
in violation of 15 U.S.C. § 1692e(8);

Using unfair or unconscionable means to collect or attempt
to collect any debt, in violation of 15 U.S.C. § 1692f; and
By acting in an otherwise deceptive, unfair and
unconscionable manner and failing to comply with the

FDCPA.

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PLAINTIFF’S COMPLAINT

 

 

 

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DEl\/IAND FOR JURY TRIAL

PLEASE TAKE NOTICE that Plaintiff, MARICIA O’CONNOR, demands

a jury trial in this case.

DATED: April 12, 2010

RESPECTFULLY suniviirrni),
KIMMEL a siLvERMAN, P.C..

By: /s/ Cra_ig Thor Kirnmel
Craig-Thor Kimmel
Attorney ID # 57100
Kimmel & Silverman, P.C.
30 E. Butler Pike
Ambler, PA 19002
Phone: (215) 540-8888
Fax: (215) 540-8817
Email: kimmel@creditlaw.corn

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PLAINTIFF’S COMPLAINT

 

